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                         UNITED STATES DISTRICT COURT
 9
                      NORTHERN DISTRICT OF CALIFORNIA
10
                                  OAKLAND DIVISION
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12
     UNITED STATES OF AMERICA,                  )   Case No. 4:20-cr-00265-YGR-02
13                                              )
                Plaintiff,                      )   [PROPOSED] ORDER
14                                              )   CONTINUING STATUS
                                                )   CONFERENCE AND EXTENDING
15        vs.                                   )   DEADLINE FOR THE UNITED
                                                )   STATES TO MAKE ITS EXPERT
16                                              )   DISCLOSURES
                                                )
17                                              )   *AS MODIFIED BY THE COURT*
     ROBERT ALVIN JUSTUS, JR.,                  )
18                                              )
                Defendant.                      )
19                                              )
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26        For the reasons set forth in the stipulation of the parties and for good cause
27 shown, the Court hereby orders as follows:
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 1    1) The status conference currently scheduled to occur on August 24, 2022 shall
 2       be continued to September 7, 2022 at 9:00 a.m. via Zoom, and
 3    2) The deadline for the United States to make its expert disclosures is extended
 4       from August 8, 2022 to October 3, 2022.
 5       IT IS SO ORDERED.
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 7 Dated: August 15, 2022                ____________________________
                                         Hon. Yvonne Gonzalez Rogers
 8                                       United States District Court Judge
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